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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                    07-CR-20076-3, 7, 13 and 18

JERRY McADOO, ANTHONY JOHNSON,
VIRGIL SENIOR and TIERRA JONES

              Defendants.
                                                /

              AMENDED1 OPINION AND ORDER DENYING DEFENDANT’S
            “MOTION TO CHALLENGE DISPARITY IN PENALTIES BETWEEN
             COCAINE BASE AND COCAINE POWDER” AND DENYING THE
           “JOINDER” OF CO-DEFENDANTS JOHNSON, SENIOR AND JONES

       Defendant Jerry McAdoo filed the above-captioned “motion” on October 10,

2007. Co-Defendant Jerry Gunter filed the same motion on October 3, 2007, which the

court denied in a recent order. (10/15/07 Order.) McAdoo’s motion, while somewhat

more developed in its legal argument and citation to authority, must fail for the reasons

stated in the court’s October 15, 2007 opinion and order. The court has also received

notices of “joinder” from Co-Defendants Anthony Johnson, Virgil Senior and Tierra

Jones. (See Dkt. ## 171-73.) These notices offer no additional argument that would

alter the court’s analysis. Accordingly,

       IT IS ORDERED that Defendant McAdoo’s “Motion to Challenge Disparity in

Penalties Between Cocaine Base and Cocaine Powder” [Dkt. # 169] is DENIED.




       1
       For administrative purposes, the court issues this amended order, which alters
the case caption and includes the case numbers of each Defendant who filed a joinder.
The court’s order is otherwise unchanged.
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          IT IS FURTHER ORDERED that the Notices of Joinder [Dkt. ## 171-73] are

DENIED.


                                                                S/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE
Dated: October 26, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 26, 2007, by electronic and/or ordinary mail.

                                                                S/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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